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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION

IN RE:                                            )
                                                  )
Brian Elsmore                                     )       Case # 18-10341
Mercedes Elsmore                                  )       Chapter 7
                                                  )
             Debtors                              )

               STATEMENT OF NEED FOR AN EXPEDITED HEARING
    FOR ENTRY OF AN ORDER GRANTING CONSENT CHAPTER 7 TRUSTEE’S
   MOTION TO (I) APPROVE A SHORT SALE OF REAL PROPERTY FREE AND
CLEAR OF LIENS, CLAIMS, ENCUMBRANCES, AND INTERESTS PURSUANT TO 11
 U.S.C. § 363(b), (f), AND (m), (II) SURCHARGE AGREEMENT BETWEEN SECURED
            LENDER AND THE ESTATE AND (III ) OTHER RELIEF (DOC. )
                            (WITH CONSENT OF SECURED LENDER)

     COMES NOW, THERESA M. BENDER, Chapter 7 Trustee, and files this Statement of

Need for Expedited Hearing on the referenced Consent Motion and states:

      1. On 12/20/18, Debtors filed for relief under Chapter 7 of the Bankruptcy Code, and the

meeting of creditors was held 2/13/19.

      2.   The estate includes real property, formerly Debtors’ homestead, which was not

exempt.

      3. On or about 3/25/19, BK Global reached out to the Trustee to advise her they were

working with the Secured Creditor/ Mortgage Lender on Debtors’ former homestead and

requested the Trustee preserve her interest in the real property for the Estate. A BPO was

delivered to the Trustee on or about 4/5/19. This Court approved BK Global and a local real

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estate agent to represent the Trustee in the marketing and sale of the real property.

       4. BK Global secured an offer on the real property and the secured lender, mr. Cooper

has consented to the sale and agreed to a carve out of $10,125.00 to the Bankruptcy Estate.

       5. The secured lender has conditioned the consent on the sale closing on or before noon

on 11/1/19. Failure to close prior to that date rescinds the consent, and the Estate will lose the

agreed carve out of $10,125.00.

       6.     The sale of this real property is the only viable asset of the Estate. Should this sale

fail, there will be no funds to pay the unsecured creditors. As of this date, a total value of

$218,676.47 in unsecured claims has been filed. While the distribution percentage may be low,

without the carve out, the unsecured creditors receive $0.00.

       7.     The Trustee does not believe a hearing is required on the Motion. The Secured

Creditor has given its written consent and Fidelity National Title Insurance Company has

prepared a title commitment.

       WHEREFORE, Theresa M. Bender, Trustee, respectfully prays that this Court to

consider the Expedited Motion for Entry of an Operating order: and grant any other and further

relief that the Court may deem just and proper.

       RESPECTFULLY SUBMITTED this October 8, 2019.



                                           /s/ Theresa M. Bender
                                           Theresa M. Bender
                                           Chapter 7 Trustee
                                           FL Bar #0749486
                                           Theresa M. Bender, P.A.
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                                             Post Office Box 14557
                                             Tallahassee, FL 32317
                                             Telephone: (850) 205-7777
                                             Tmbenderch7@gmail.com

                                     CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing Motion has been furnished
via first-class United States Mail, postage prepaid, or via electronic mail this 8 day of October, 2019 to:
By U.S. Mail/ECF

   Brian Elsmore & Mercedes Elsmore, - 4025 NORTHWEST 35TH STREET, GAINESVILLE, FL
   32605;

   Mr. Cooper, 8950 Cypress Waters Blvd, Coppell, TX 75019

   Barbara A. Cusumano on behalf of Debtor Brian Malcolm Elsmore
   Barbara@BarbaraDebtLaw.com, BarbaraDebtLaw.CaseManager@gmail.com

   Barbara A. Cusumano on behalf of Joint Debtor Mercedes Elsmore
   Barbara@BarbaraDebtLaw.com, BarbaraDebtLaw.CaseManager@gmail.com

   Elizabeth Eckhart on behalf of Creditor U.S. Bank National Association, as Trustee for Lehman XS
   Trust Mortgage Pass-Through Certificates, Series 2007-7N
   eeckhart@logs.com, electronicbankruptcynotices@logs.com
   MCCOY ANDERSON, GATOR HOMES, 21727 SE 69TH AVE, HAWTHORNE, FL. 32640

   PATRICK BUTLER, PBUTLER@BKGINC.COM

   United States Trustee, USTPRegion21.TL.ECF@usdoj.gov


                                             /s/ Theresa M. Bender




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